
CRAIN, J.,
dissenting in part.
LI agree with the majority’s conclusion that Louisiana Code of Civil Procedure articles 966 and 967 apply to summary judgment proceedings before the Ethics Adjudicatory Board. The EAB thus erred in admitting the exhibits at issue. However, given the uncertainty of the law prior to our ruling, the Board of Ethics, in opposing the motion for summary judgment, reasonably relied on the relaxed evidentia-ry rules otherwise applicable to administrative proceedings. For that reason, I would order the EAB to allow the Board, on remand, to submit evidence pursuant to Articles 966 and 967 prior to a ruling on the motion for summary judgment. See La. Code Civ. Pro. arts. 2082 and 2164; Placid Refining Company v. Privette, 523 So.2d 865, 869-70 (La. App. 1st Cir.) (on rehearing), writ denied, 524 So.2d 748 (La. 1988) (“The court of appeal may remand a case to the trial court for the taking of additional evidence where it is necessary to reach a just decision.”).
